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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                CRIMINAL PRETRIAL MINUTES

Date: 2/17/06

Case No.     CR-05-0284 SI                       Judge: SUSAN ILLSTON

Title: UNITED STATES -v- AKRAM CHAUDRY (C)(p), MOHAMMAD ADIL (NC)
                        Interp: Brara

Attorneys:    B. Stamm                 Gruel, Axelrod

Deputy Clerk: Tracy Sutton Court Reporter: M. Shintaku

                                         PROCEEDINGS

1) Status - HELD
2)
3)
Order to be prepared by: ( )Pltf     ( )Deft     ( )Court

Disposition : ( ) GRANTED, ( ) DENIED, ( ) GRANTED/DENIED IN                   ( ) SUBMITTED
                                           PART

Case continued to 3/24/06 @ 11:00 A.M. hrg. On motion/Trial Setting

Case continued to

Case continued to     for Pretrial Conference

Case continued      for Trial (Jury: ___ Days)

Category of Excludable Delay: Effective preparation
Delay begins:        Delay ends: 3/24/06
( AUSA to draft order      )

ORDERED AFTER HEARING:
Due to the voluminous amounts of discovery, counsel need additional time to review translations
and other discovery.

Mr. Adil’s appearance is waived at the 3/24/06 hearing.

(SPEEDY TRIAL DEADLINE AS OF TODAY: )
